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                  United States Court of Appeals
                                FIFTH CIRCUIT
                             OFFICE OF THE CLERK
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                            October 31, 2024

MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:

      No. 24-40705     Texas Bankers Association v. CFPB
                       USDC No. 7:23-CV-144

Enclosed is an order entered in this case.


                            Sincerely,
                                 LYLE W. CAYCE, Clerk


                                 By: _________________________
                                 Rebecca L. Leto, Deputy Clerk
                                 504-310-7703

Ms. Sarah Johnson Auchterlonie
Mr. Owen Colin Babcock
Mr. James Winford Bowen
Mr. Kevin E. Friedl
Mr. Robert Mark Loeb
Mr. Nathan Ochsner
Mr. John Clay Sullivan
Mr. Misha Tseytlin

P.S. to All Counsel: An expedited briefing schedule will issue
under separate cover. Paper copies of all briefs will be due for
filing immediately after electronic filing.
